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SLT. USAO# 2023R00427 S = Al be [)

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

CRIMINAL NO( NOS o> br XO-

UNITED STATES OF AMERICA *
*
v. * (Conspiracy to Commit Visa Fraud
* and Marriage Fraud, 18 U.S.C.
ELLA ZURAN, * § 371; Forfeiture, 18 U.S.C.
TATIANA SIGAL, . § 982(a)(6) and (b)(1), 21 U.S.C.
SHAWNTA HOPPER, and * § 853(p))
ALEXANDRA TKACH, *
*
Defendants. *
*
Re KK
INDICTMENT
COUNT ONE

(Conspiracy to Commit Visa Fraud and Marriage Fraud)

The Grand Jury for the District of Maryland charges that:

At all times material to the Indictment:

1; ELLA ZURAN (“ZURAN?”) was born in the Soviet Union and has resided in New
York City, New York, since 1979. She was naturalized as a United States citizen in 1992.

2. TATIANA SIGAL (“SIGAL”) was born in Uzbekistan, is a citizen of Ukraine,
and has resided in the United States as a Lawful Permanent Resident since 2003. She resided in
New York City, New York.

3. SHAWNTA HOPPER (“HOPPER”) was a United States citizen and resident of
New Jersey.

4. ALEXANDRA TKACH (“TKACH”) was born in Ukraine and has resided in New

York City, New York, since 2002. She was naturalized as a United States citizen in 2016.
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United States Citizenship and Immigration Services and its Forms

5. United States Citizenship and Immigration Services (“USCIS”) was an agency of
the United States Department of Homeland Security (“DHS”) responsible for overseeing lawful
immigration to the United States and providing procedures for United States citizens and
permanent residents to acquire permanent resident status for their immigration spouses. To
perform this function, USCIS required persons to submit various immigration forms. These forms
included:

a. DHS USCIS Form I-130, Petition for Alien Relative (hereinafter, “Form 1-130”),
was a form used by a United States citizen in support of a non-citizen’s (hereinafter, “alien’’)
application for United States immigration benefits.

b. DHS USCIS Form I-485, Application to Register Permanent Residence of Adjust
Status (hereinafter, “Form I-485”), was a form used by an alien seeking a change in his or her
immigration status.

c. DHS USCIS Form 1-864, Affidavit of Support Under Section 213A of the INA
(hereinafter, “Form 1-864”), was a form typically submitted by a United States citizen or lawful
permanent resident to show that the United States citizen or lawful permanent resident can and
will financially support or assist in financially supporting an alien seeking to change his or her
immigration status (hereinafter, “sponsor’’).

d. An applicant filing the Form 1-130, the Form I-485, and/or the Form 1-864 was
required to sign the application under penalty of perjury under the laws of the United States,
verifying that all the information and documentation submitted is complete, true, and correct.

Anyone who assisted the applicant in preparing the application was also required to sign the
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application and declare that the information contained within the application was true based upon
the preparer’s personal knowledge or information provided to the preparer by the applicant.

Aliens Applying for United States Lawful Permanent Residence

6. An alien was an individual who was not a citizen of the United States.

Z. An alien could obtain lawful permanent residence in the United States based upon
his or her valid marriage to a United States citizen. The United States citizen in a valid marriage
could apply for such an immigration benefit, and was often referred to as the “petitioner.” The
alien in such a marriage who potentially could receive the immigration benefit as a result of that
marriage was often referred to as the “beneficiary spouse.”

8. After marriage, the petitioner filed Form I-130 (Petition for Alien Relative) with
USCIS seeking that the beneficiary spouse be classified as the spouse, and the beneficiary spouse
typically simultaneously filed a Form I-485 (Application to Register Permanent Residence or
Adjust Status).

9. The petitioner and beneficiary spouse then were scheduled for an interview with
USCIS for the purpose of determining eligibility for the adjustment of their immigration status.
USCIS used the interview to determine whether the parties established that each was free to marry,
that the marriage was entered into in good faith, and that the marriage is bona fide (i.e., not entered
into for the purpose of obtaining immigration benefits in the United States).

10. Along with the interview notice, an applicant was provided with a list of documents
that they could bring to establish that the marriage is bona fide. That list includes things such as
leases, letters or affidavits, photos, bank statements, shared bills, and documentation of shared

assets. This evidence and the testimony of the parties was how the Immigration Services Officer

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determined the alien’s eligibility for permanent residence in the United States based upon marriage
to a United States citizen.

The Conspiracy

A Beginning no later than December 2020, and continuing through in or about
February 4, 2025, in the District of Maryland and elsewhere,
ELLA ZURAN,
TATIANA SIGAL,
SHAWNTA HOPPER,
ALEXANDRA TKACH,
the defendants herein, and others known and unknown to the Grand Jury, knowingly and willfully
conspired and agreed together to (1) defraud the United States by interfering with and obstructing
the lawful governmental functions of the DHS USCIS, and (2) commit offenses against the United
States, that is:
(a) to knowingly make materially false statements in visa applications, visa
extensions, and documents required by the immigration laws, in violation of 18 U.S.C. § 1546;
and
(b) to attempt to, and to cause an alien to enter and obtain entry to the United
States by a willfully false and misleading representation and the willful concealment of a material

fact, in violation of 8 U.S.C. § 1325(c).

Purpose of the Conspiracy

12. _ It was a purpose of the conspiracy for defendants to enrich themselves by operating
a marriage-fraud scheme in which they created sham marriages in order to illegally obtain
admission and immigrant status for aliens in the United States.

Manner and Means of the Conspiracy

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13. ‘It was a part of the conspiracy that the defendants caused and sought to cause
deceptions, false representations, and false statements to be made to DHS USCIS.

14. It was further part of the conspiracy that defendants and other persons recruited,
enticed, encouraged, and groomed, and sought to recruit, entice, encourage, and groom United
States citizens to engage in fake romances, engage in fraudulent marriages, and make false
representations to USCIS.

15. It was further part of the conspiracy that the defendants paired aliens seeking
immigration benefits with United States citizens for purposes of creating phony and fake romantic
arrangements.

16. It was further part of the conspiracy that defendants caused and sought to cause
United States citizens to sponsor aliens for permanent residency in the United States.

17. It was further part of the conspiracy that the defendants caused and sought to create
sham marriages between aliens and United States citizens.

18. It was further part of the conspiracy that defendants arranged for the preparation of
USCIS documents containing false statements, which were filed as part of, and in support of,
aliens’ applications for permanent residence via USCIS.

19, It was further part of the conspiracy that the defendants caused the preparation and
submission of false USCIS forms so the aliens could obtain immigration benefits.

20. It was further a part of the conspiracy that sham marriages were arranged between
United States citizens and aliens in which:

(a) the alleged spouses generally did not live together and did not intend to live

together;

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(b) the alleged spouses entered into a marriage for the primary purpose of
circumventing the immigration laws of the United States.

21. ‘It was further part of the conspiracy that the defendants received money in exchange
for assisting aliens in attempting to obtain immigration benefits and immigration status in the
United States to which they were not entitled.

Overt Acts

22. In furtherance of the conspiracy, and to effect the objects of the conspiracy, the
following overt acts, among others, were committed in the District of Maryland and elsewhere:

(a) In or about December 2020, HOPPER recruited a United States citizen
spouse residing in Maryland, A.G., to enter into a sham marriage with an alien, K.G., with the
promise of payment. HOPPER obtained copies of A.G.’s birth certificate and social security card
for use in preparing a false application for immigration benefits. K.G. paid thousands of dollars
to ZURAN to facilitate the marriage and prepare a false application for immigration benefits.

(b) In or about July 2021 in Baltimore, Maryland, ZURAN and SIGAL
induced and encouraged an alien, O.A., to enter into a sham marriage with a U.S. citizen, T.W., in
order to obtain immigration benefits. O.A. paid ZURAN and SIGAL thousands of dollars to
facilitate the marriage and prepare a false application for immigration benefits. As part of this
process, ZURAN and SIGAL sought to make O.A. and T.W.’s marriage appear legitimate to
USCIS. SIGAL arranged for the preparation of false forms attesting to O.A.’s health status in
connection with his application for immigration benefits.

(c) In or about April 2021, HOPPER recruited a United States citizen spouse

residing in Maryland, M.B., to enter into a sham marriage with an alien, D.I. To facilitate the sham

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marriage, HOPPER made arrangements for M.B. to travel to Connecticut, where the marriage
ceremony occurred.

(d) In or about March 2022, HOPPER recruited a United States citizen spouse
residing in Maryland, R.A., with the promise of payments in exchange for entering into a sham
marriage with an alien, O.B. To facilitate the sham marriage, HOPPER made arrangements for
R.A. to travel to Connecticut, where the marriage ceremony occurred.

(e) In or about November 2022, SIGAL induced and encouraged a United
States citizen living in Maryland, S.T., to marry an alien, U.M., and on or about March 2023, S.T.
married U.M. in Baltimore.

(f) On or about December 18, 2023, ZURAN contacted S.T., and directed S.T.
to schedule an interview with USCIS personnel to substantiate the validity of $.T.’s marriage with
U.M.

(g) On or about October 2023, in Maryland, SIGAL and TKACH induced and
encouraged a United States citizen spouse, T.M., to enter into a sham marriage with an alien, N.M.

(h) On or about October 2023, SIGAL and TKACH induced T.M. to sign a
false Form I-130 petition on behalf of N.M.

18 U.S.C. § 371

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FORFEITURE ALLEGATION

The Grand Jury for the District of Maryland further finds that:

I. Pursuant to Fed. R. Crim. P. 32.2, notice is hereby given to the defendants that the
United States will seek forfeiture as part of any sentence in accordance with 18 U.S.C. § 982(a)(6)
and (b)(1) and 21 U.S.C. § 853(p), in the event of the defendants’ conviction under Count One of

this Indictment.

a. Upon conviction of the offense alleged in Count One of this Indictment the
defendants,
ELLA ZURAN,
TATIANA SIGAL,
SHAWNTA HOPPER,
ALEXANDRA TKACH,

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(6), (i) any conveyance, including
any vessel, vehicle, or aircraft used in the commission of the offense; and (ii) any property real or
personal that constitutes, or is derived from or is traceable to the proceeds obtained directly or
indirectly from the commission of the offense, or that was used to facilitate, or was intended to be
used to facilitate, the commission of the offense.

Property Subject to Forfeiture

3: The property to be forfeited includes but is not limited to a money judgment in the
amount each of the defendants obtained as a result of Count One of this Indictment.

Substitute Assets
4, If, as a result of any act or omission of any of the defendants, any of the property

described above as being subject to forfeiture:

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a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,

Gs has been commingled with other property which cannot be divided

without difficulty,
the United States shall be entitled to forfeiture of substitute property up to the value of the
forfeitable property described above pursuant to 21 U.S.C. § 853(p), as incorporated by 18
U.S.C. § 982(b)(1).
18 U.S.C. § 982(a)(6)

18 U.S.C. § 982(b)(1)
21 U.S.C. § 853(p)

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Erek L. Barron
United States Attorney

A TRUE BILL:
SIGNATURE REDACTED a7 Ste
FURKEPERSON Date

